 Case 19-00507       Doc 196      Filed 06/16/20 Entered 06/16/20 16:17:06            Desc Main
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             UNITED STATES BANKRUPTCY APPELLATE PANEL
                       FOR THE EIGHTH CIRCUIT

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                                         No: 20-6013
                                     ___________________

 In re: McQuillen Place Company, LLC, also known as Classic Cleaners, also known as Classic
                                 Cleaners of Charles City

                                                       Debtor

                                     ------------------------------

                              Charles M. Thomson; James A. Gray

                                              Creditors - Appellants

                                                  v.

                                         Charles L. Smith

                                                Trustee - Appellee

          First Security Bank & Trust Co.; Four Keys, LLC; City of Charles City, Iowa

                                    Creditors - Appellees
______________________________________________________________________________

           U.S. Bankruptcy Court for the Northern District of Iowa - Mason City
                                       (19-00507)
______________________________________________________________________________

                                           JUDGMENT

       Appellees First Security Bank & Trust Co. and Four Keys, LLC have filed an election to

have this appeal heard by the District Court. Accordingly, this case is hereby transferred to the

U.S. District Court for the Northern District of Iowa.


                                                        June 16, 2020




Order Entered Under Rule 8013A:
Clerk, U.S. Bankruptcy Appellate Panel, Eighth Circuit.
_____________________________________________
                 /s/ Michael E. Gans

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